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|N THE UNITED STATES DISTR|CT COURT
FOR THE SOUTHERN D|STR|CT OF OH|O
WESTERN D|V|SlON

TRESSA SHERROD, et al.,

P|aintiffs,

v. _ CaSe No. 3:14-cv-454
OFFICER sEAN c. WlLLlAr\/ls, er JUDGE WALTER H. RlCE
a/.,

Defendants.

 

DEC|S|ON AND ENTRY SUSTA|N|NG: BEAVERCHEEK
DEFENDANTS’ MOT|ON IN L|N||NE REGARD|NG DEFENDANT
WILL|A|VIS' USE OF FORCE H|STORY AND RESPONSE TO
RES|STANCE/USE OF FORCE DATA (DOC. #190); BEAVERCREEK
DEFENDANTS' |V!OT|ON |N L||Vf|NE REGARD|NG DEFENDANT
VV|LL|AIV|S' PR|OR USE OF DEADLY FORCE (DOC. #192);
BEAVERCREEK DEFENDANTS' |V|OT|ON |N L||VHNE REGARD|NG
DEFENDANT VV||_L|AN|S' TATTOO (DOC. #204); PLA|NT|FFS'
MOTION |N L|M|NE TO PREVENT REFERENCES TO JOHN
CRAWFORD'S ALLEGED |V|AR|JUANA USE (DOC. #201); AND
WAL-|V|ART'S MOT|ON |N L.l|\/TlNE #5 (DOC. #207)

DEC|S|ON AND ENTRY OVERRUL|NG: WAL-MART'S MOT|ON IN
LHV||NE #2 (DOC. #209); WAL-MART’S IV|OT|ON |N LlI\/|INE #6
(DOC. #238); AND WAL-IV|ART'S MOT|ON lN LINIINE #7 (DOC.
#239)

DECIS|ON AND ENTRY OVERRULlNG AS MOOT: BEAVERCREEK
DEFENDANTS' |V|OT|ON |N L|M|NE REGARD|NG REFERENCES TO
OTHER PUBL|C|ZED |NC|DENTS (DOC. #193); BEAVERCREEK
DEFENDANTS' lVlOT|ON |N L||VI|NE REGARD|NG D|SPUTE BETWEEN
DAYTON RTA AND THE C|TY OF BEAVERCREEK ABOUT BUS
STOPS AT FAIRF|ELD CO|V|IV|ONS MALL (DOC. #203); AND WAL-
MART'S MOT|ON |N L|lVl|NE #4 (DOC. #210)

 

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DEC|SION AND ENTRY OVERRUL|NG WlTHOUT PREJUD|CE:
BEAVERCREEK DEFENDANTS' MOT|ON |N L|iV|lNE REGARD|NG
REFERENCES TO THE TERMS “TOY GUN," ”A|R GUN," ”A|R
R|FLE," ”PELLET R|FLE,” AND ”BB GUN” (DOC. #191); AND WAL-
lV|ART'S MOT|ON |N L|Nl|NE #3 (DOC. #208)

 

This matter is currently before the Court on several motions in |imine.
Defendants Officer Sean C. Wi||iams, Sergeant David |V|. Darkow, Chief Dennis
Evers and the City of Beavercreek, Ohio (”the Beavercreek Defendants”) have filed
the following: (T) |V|otion in Limine Regarding Defendant Williams' Use of Force
History and Response to Resistance/Use of Force Data (Doc. #‘|90); (2) |Vlotion in
Limine Regarding References to the Terms ”Toy Gun,” ”Air Gun,” ”Air Flif|e,”
”Pe||et Gun,” ”Pe||et Flif|e," and ”BB Gun” (Doc. #‘|91); l3) lV|otion in Limine
Regarding Defendant Wil|iams’ Prior Use of Dead|y Force (Doc. #192); (4) lVlotion
in Limine Regarding References to Other Pub|icized |ncidents (Doc. #193); (5)
|V|otion in Limine Regarding Dispute Between Dayton RTA and the City of
Beavercree|< About Bus Stops at Fairfie|d Commons |Vlal| (Doc. #203); and (6)
|Vlotion in Limine Regarding Defendant Wi||iams’ Tattoo (Doc. #204).

Plaintiffs have filed a lV|otion in Limine to Prevent References to John

Crawford's A||eged l\/larijuana Use (Doc. #20'|).1

 

1 This Decision and Entry does not address P|aintiffs’ lV|otion in Limine to Preclude
Argument that Flona|d Ritchie Was a Legal or Proximate Cause of John Crawford's
Death, Doc. #211. A separate Decision and Entry addressing that motion is
forthcoming.

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Defendants Wa|-lVlart Stores East, LP, and Wal~l\/lart Stores, |nc. (co||ectively
”Wal-|Vlart”), have filed the following: (1) |Vlotion in Limine #2 (Doc. #209); (2)
Nlotion in Limine #3 (Doc. #208); l3) lV|otion in Limine #4 (Doc. #210); {4) |V|otion
in Limine #5 (Doc. #207); (5) l\/lotion in Limine #6 (Doc. #238); and (6) Nlotion in

Limine #7 (Doc. #239).

l. Background and Procedural History

The Court presumes the parties' familiarity With the relevant facts. To
summarize, on August 5, 2014, Flonald Ritchie, a shopper at the Beavercreek Wal-
|Vlart store, called 91 1 to report that a black man Was loading a black rifle, Waving
it around and pointing it at people inside the store. Beavercreek Police Officer
Sean C. Williams and Sergeant David lVl. DarkoW responded to the 911 dispatch.
They found the suspect, John Crawford, lll, standing alone in the pet department,
looking at the shelves. ln his right hand, he Was holding a black rifle, Which Was
pointed at the ground.

Sergeant Darkovv ordered Crawford to drop the Weapon. According to
Officer Williams, Crawford turned toward the officers in an aggressive manner With
his rifle in a low-ready position. Officer Wil|iams fired two shots at Crawford, Who
died a short time later. lt Was later discovered that the ”rifle” Was actually an
unloaded pellet rifle, or BB gun, that Crawford had picked up in Wal-l\/lart's

sporting goods department.

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The Administratrix of Crawford’s estate and several of his family members
filed suit against Williams, Darkow, Beavercreek’s Chief of Police, Dennis Evers,
the City of Beavercreek and Wa|-l\/lart, alleging numerous federal and state claims.
On January 15, 2019, the Court issued a Decision and Entry on motions for
summary judgment filed by Plaintiffs and the Beavercreek Defendants. Doc. #240.
On January 28, 2019, the Court issued a Decision and Entry on Wal»l\/lart's |Vlotion
for Summary Judgment. Doc. #273.

After the Beavercreek Defendants filed a notice of interlocutory appea|, Doc.
#272, the Court vacated the February 4, 2019, trial date. ”The filing of a notice
of appeal is an event of jurisdictional significance_it confers jurisdiction on the
court of appeals and divests the district court of its control over those aspects of
the case involved in the appeal." Grl`ggs v. Provident Consumer Disc. Co., 459
U.S. 56, 58 (1982). The interlocutory appeal is limited to questions of Whether
Officer Williams is entitled to qualified immunity on the § 1983 claims and Whether
Officer Williams and Chief Evers are entitled to statutory immunity on the state law
claims. Therefore, the Court retains jurisdiction to consider and decide motions
unrelated to the subject of the appea|. To the extent possible, the Court Wil| rule
on the pending evidentiary motions so that trial may proceed as quickly as possible

once the interlocutory appeal has been decided.

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ll. Motions in Limine (Docs. ##190-193, 201, 203-204, 207-211, 238-2391

The parties have filed multiple motions in limine, seeking to exclude certain
evidence at tria|.

A. Relevant Law

Although neither the Federal Rules of Evidence nor the Federal Rules of Civil
Procedure explicitly authorize the Court to rule on an evidentiary motion in limine,
the Supreme Court has noted that the practice of ruling on such motions ”has
developed pursuant to the district court's inherent authority to manage the course
of tria|s.” l_uce v. United States, 469 U.S. 38, 41 n.4 (1984). The purpose of a
motion in limine is to allow the Court to rule on issues pertaining to evidence in
advance of trial in order to both avoid delay and ensure an evenhanded and
expeditious tria|. See Indr`ana lns. Co. v. Gen. E/ec. Co., 326 F. Supp.2d 844, 846
(N.D. Ohio 2004) (citing Jonasson v. l_utheran Chi/d & Famr'/y Servs., 115 F.3d
436, 440 l7th Cir. 1997)). Pretria| orders also often save the parties time and cost
in preparing for trial and presenting their cases.

Courts are generally reluctant to grant broad exclusions of evidence in
limine, however, because ”a court is almost always better situated during the
actual trial to assess the value and utility of evidence.” Koch v. Koch lndus., lnc.,
2 F. Supp.2d 1385, 1388 (D. Kan. 1998); accord Sperberg v. Goodj/ear Tire &
Rubber Co., 519 F.2d 708, 712 (6th Cir. 1975). A court should not make a ruling
in limine unless the moving party meets its burden of showing that the evidence in

question is clearly inadmissiblel indiana lns. Co., 326 F. Supp.2d at 846; Koch, 2

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F. Supp.2d at 1388. lf this high standard is not met, evidentiary rulings should be
deferred so that the issues may be resolved in the context of the tria|. /ndfana lns.
Co., 326 F. Supp. 2d at 846.

B. The Beavercreek Defendants' Motions in Limine (Docs. ##190-193,
203-204)

1. Williams' Use-of-Force History and Response-to-Resistance/Use-of-
Force Data lDoc. #190) and Williams' Prior Use of Deadly Force
(Doc. #192)

The Beavercreek Defendants have moved the Court for an order excluding
evidence of Officer Williams' prior uses of force and statistics showing that he
used force at a much higher rate than any other officer on the Beavercreek police
force. Doc. #190. They also ask the Court to exclude testimony, evidence and
argument concerning Officer Williams' use of deadly force against Scott Brogli in
June of 2010. Williams and another officer had responded to a domestic violence
call and observed blood outside the residence. When they entered the residence,
Brogli charged at them with a large knife. Williams shot and killed him. Doc.
#192.

ln this Court's view, this evidence is clearly relevant and admissible with
respect to the remaining claims against the City of Beavercreek and Chief Dennis
Evers, which will be bifurcated from the claims against Officer Williams and tried

only if the same jury first finds that Officer Williams violated Crawford’s

Constitutional rights. Accordingly, the Court limits its discussion to the question

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of whether such evidence is admissible for any purpose in the trial of the
individual-capacity claims against Officer Williams.

The Beavercreek Defendants argue that this evidence is irrelevant to the
question of whether it was objectively reasonable for Williams to use deadly force
against Crawford during the incident in question. They also argue that any
probative value is outweighed by the danger of unfair prejudice and confusion of
the issues. See Fed. Ft. Evid. 403. ln addition, they argue that such ”character
evidence" is inadmissible under Fed. R. Evid. 404(b)l1), which prohibits the use of
evidence of other wrongdoing ”to prove a person’s character in order to show that,
on a particular occasion, the person acted in accordance With [that] character.”

ln contrast, Plaintiffs maintain that evidence of Williams' prior uses of force,
including his use-of-force statistics and his prior use of deadly force, is relevant to
the claims brought against him in his individual capacity. They further argue that
such evidence is admissible under Fed. R. Evid. 404(bl(2), which provides that
evidence of other acts ”may be admissible for another purpose, such as proving
motive, opportunity, intent, preparation, plan, knowledge, identity, absence of
mistake, or lack of accident." ln addition, Plaintiffs contend that the probative
value of such evidence is not substantially outweighed by the danger of unfair
prejudice or confusion of the issues.

The threshold question is whether the evidence that Plaintiffs seek to admit

is relevant. Evidence is relevant if: ”(a) it has a tendency to make a fact more or

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less probable than it would be without the evidence; and (b) the fact is of
consequence in determining the action.” Fed. R. Evid. 401.

With respect to the § 1983 claims against Officer Williams, the Beavercreek
Defendants correctly note that the jury must determine whether his actions were
objectively reasonable in light of the circumstances confronting him at that very
moment. Graham v. Connor, 490 U.S. 386, 396-97 (1989). Actions that the
officer may have taken at other times in other situations are simply irrelevant to
this determination. According|y, evidence of Williams' prior uses of force is
irrelevant and therefore inadmissible with respect to the § 1983 claims.

With respect to at least some of the remaining state law claims, evidence of
prior uses of force may be relevant but it is not necessarily admissible Under Fed.
R. Evid. 404(b)(1), such evidence is not admissible to show that Williams acted in
conformity with his prior uses of force. The Sixth Circuit has held that, before
admitting evidence under Fed. R. Evid. 404(b)(2)r it must:

(1) determine whether this is sufficient evidence that the prior acts

occurred; (2) determine whether the other act is admissible for one of

the proper purposes outlined in the rule; and (3) apply Rule 403

balancing to determine whether the probative value of the evidence is

substantially outweighed by the danger of unfair prejudice.

Un/'z`ed States v. Hardy, 643 F.3d 143, 150 (6th Cir. 2011).
There appears to be little dispute that the prior acts occurred. Officer

Williams' prior uses-of-force are documented in his personnel file and included in

the statistical analyses. Plaintiffs argue that this evidence is admissible under Fed.

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R. Evid. 404(b) to show the absence of mistake or accident, to show habit, and to
show intent. Doc. #243.

Officer Williams does not contend that he shot Crawford by accident or by
mistake. Flather, he claims that he intentionally shot him because he believed that
Crawford posed an imminent danger of serious bodily harm. Accordingly, this
exception does not apply.

Plaintiffs also argue that evidence of Williams' prior acts is admissible to
show intent. They cite to several cases in courts have admitted evidence of police
officers' prior uses of excessive force to prove that they intended to inflict injury
on others during the course of an arrest. See, e.g., Edwards v. Thomas, 31 F.
Supp. 2d 1069, 1074-75 (N.D. lll. 1999) ladmitting evidence of prior use of
excessive force to show the officer's ”intention to commit assault and battery on
Edwards.”); Uniz‘ed States v. Brcwn, 250 F.3d 580, 585-86 (finding no abuse of
discretion where district court admitted evidence of prior incident to show officer’s
intent ”to punish people Who defied his authority.”).

Assuming arguendo that evidence of Williams' prior uses of force would be
admissible under Ru|e 404(b)(2) to show that he intended to inflict physical or
emotional injury on Crawford, it does not survive the Rule 403 balancing test.
Absent proof of factually-similar circumstances, it cannot be said that evidence of
Williams' prior uses of force is especially probative of his intent to inflict physical
or emotional injury on Crawford. Notably, although statistics show that Williams

uses force more often than other officers, his supervisors have never deemed any

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of his prior uses of force to be excessive. lVloreover, only one of the prior
incidents involved the use of deadly force and, there, it is undisputed that Williams'
use of deadly force was warranted.

ln the Court's view, the probative value of such evidence with respect to the
state law claims brought against Williams is substantially outweighed by the
danger of unfair prejudice and confusion of the issues. Evidence that Officer
Williams uses force more frequently than other officers on the police force and
evidence that he has used deadly force once before would distract the jury from
the relevant issues stemming from this particular incident. l\/loreover, if the Court
were to allow Plaintiffs to introduce evidence of Williams' prior uses of force, a
jury could improperly conclude that, because Williams has a propensity to use
force, he must have acted in conformity with that propensity when he shot and
killed Crawford. Accordingly, such evidence is excludable under Flule 403.

Plaintiffs also argue that the statistical data demonstrates that Williams had
a “habit” of using force. They also argue that evidence of prior incidents shows
that Williams had a “habit of acting With immaturity” and ”popping off at the
mouth." Doc. #243, PagelD#17323. ”Habit” is not one of the exceptions listed in
Rule 404(b)(2). Nevertheless, Fed. R. Evid. 406 provides that ”[e]vidence of a
person's habit . . . may be admitted to prove that on a particular occasion the
person . . . acted in accordance with the habit.” A ”habit,” however, is “one’s
regular response to a repeated specific situation." Examples might include ”going

down a particular stairway two stairs at a time” or “giving the hand-signal for a

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left-turn" or "alighting from railway cars While they are moving.” Fed. Fl. Evid. 406
advisory committee notes to 1972 Proposed Rules.

|n the Court's view, Rule 406 does not apply here. A police officer may
have a ”habit” of escorting a handcuffed suspect by the left elbow or of reading a
suspect his Miranda rights at a certain point in the process of an arrest. However,
the fact that an officer may have a tendency to use force more frequently than
other officers does not constitute a ”habit.” Because each situation encountered
by a police officer presents a unique set of circumstances, the officer's use of
force cannot be deemed a ”regular response to a repeated specific situation."

For the reasons set forth above, the Court SUSTA|NS the Beavercreek
Defendants' |Vlotion in Limine Regarding Defendant Williams' Use-of-Force History
and Response-to-Flesistance/Use-of-Force Data, Doc. #190, and their lVlotion in
Limine Regarding Defendant Williams' Prior Use of Deadly Force, Doc. #192.2 This

opinion is limited to the individual liability claims against Williams.

 

2 ln their memorandum in opposition to these motions, Doc. #243, Plaintiffs
suggest that certain evidence contained in Williams' personnel file is admissible
under Fed. R. Evid. 608(b) for impeachment purposes because it is probative of
Williams' character for truthfulness. lVlore specifical|y, Plaintiffs argue that
Williams lied when he testified that he saw Crawford turn toward him With the
rif|e. Plaintiffs seek to introduce evidence of two citizen complaints, one allegedly
showing that Williams has a tendency to twist the facts to support his position,
and one in which Williams was directly accused of lying. The Court reserves ruling
on the admissibility of this evidence for impeachment purposes and directs
Plaintiffs' counsel to avoid mention of this evidence in their opening statements to
the jury and to ask to approach the bench before attempting to introduce such
evidence.

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2. References to the Terms “Toy Gun," ”Air Gun," ”Air Rifle," ”Pe||et
Gun," "Pellet Rifle," and ”BB Gun” (Doc. #191)

The Beavercreek Defendants ask the Court to exclude all testimony,

evidence and argument that the firearm held by Crawford was a pellet rifle, and to

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prohibit Plaintiffs from referring to it as a ”toy gun," ”air gun, air rifle, pellet
gun,” ”pellet rifle,” or ”BB gun.” Doc. #191. Defendants maintain that this
evidence is irrelevant to the determination of whether Williams used excessive
force because, in analyzing whether Williams' use of force was objectively
reasonable, a jury may consider only those facts known to him or perceived by him
at the time. At the time of the shooting, Officer Williams believed that Crawford
was holding a real AR-15 assault rifle. lt was later discovered that it was only a
pellet rifle designed to look like an AR-15. Defendants further argue that the
probative value of this evidence is substantially outweighed by the danger of unfair
prejudice and confusion of the issues.

Plaintiffs argue, however, that the jury must be allowed to hear that
Crawford was holding a pellet rifle instead of a real assault rifle. They maintain
that, if the jury is not told that the rifle was not a real firearm, it would prejudice
Plaintiffs because the jury would mistakenly believe that Crawford was engaging in
criminal activity. Plaintiffs also argue that a reasonable jury could find that
Williams should have known that Crawford was not holding a real assault rifle.

Plaintiffs suggest that any prejudice or confusion of the issues can be cured by a

jury instruction stating that, in determining whether Williams used excessive forcer

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the jury must assume that he did not know that Crawford was holding a pellet rifle
rather than a real assault rif|e.

The Beavercreek Defendants acknowledge that evidence that Crawford was
carrying a pellet rifle and not a real gun is relevant to claims asserted against the
Wal-l\/lart Defendants. This forms the major basis for the Beavercreek Defendants'
motion to sever the claims against them from the claims asserted against the Wal-
lVlart Defendants, Doc. #117. The Court has overruled that motion without
prejudice to refiling after the Sixth Circuit has resolved the interlocutory appea|.
Because the issues involved in this motion in limine are so intertwined with the
motion to sever, the Court likewise OVERRULES the Beavercreek Defendants'
l\/lotion in Limine Regarding References to the Terms ”Toy Gun," ”Air Gun," ”Air
Rifle,” ”Pe||et Gun," ”Pei|et Fiif|e," and ”BB Gun," Doc. #191, WlTHOUT
PREJUD|CE to refiling, if relevant, after the interlocutory appeal has been decided.

3. References to Other Publicized incidents (Doc. #193)

The Beavercreek Defendants also ask the Court to exclude testimony,
evidence and argument regarding any other publicized incidents involving the use
of deadly force against unarmed individuals by law enforcement personnel. Doc.
#193. They maintain that such evidence is irrelevant to the claims asserted here
and that its probative value is substantially outweighed by the danger of unfair
prejudice and confusion of the issues. According to the Beavercreek Defendants,

introduction of such evidence will serve only to inflame the jury.

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Plaintiffs have indicated that they do not intend to introduce any such
evidence.3 According|y, the Court OVERRULES AS MOOT the Beavercreek
Defendants' lVlotion in Limine to Exclude References to Other Publicized lncidents,
Doc. #193.

4. References to Dispute Between Dayton RTA and the City of
Beavercreek About Bus Stops at Fairfield Commons Mall (Doc.
#203}

The Beavercreek Defendants ask the Court to exclude testimony, evidence
and argument concerning a previous dispute between the Dayton Regional
Transportation Authority l”FiTA") and the City of Beavercreek related to bus stops
near the Fairfield Commons |Vlal|, across the street from Wa|-l\/lart. Doc. #203.
Chief Evers testified at his deposition that the police department took no position
on whether there was correlation between an increase in crime rates due to the
presence of bus stops. Doc. #136, pp. 16-18. The Beavercreek Defendants argue
that the implication of this line of questioning is that there is an inherent racial bias
among the City and its leaders and that this racial bias could have played some role
in the shooting death of John Crawford.

The Beavercreek Defendants maintain that any evidence of the previous

dispute concerning the bus stop is irrelevant and that any probative value is

 

3 Plaintiffs have indicated, however, that they do plan to explore this issue during
voir dire to eiicit potential biases about police shootings. The Beavercreek
Defendants have not objected to this.

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substantially outweighed by the danger of unfair prejudice, confusion of the issues
and misleading the jury. See Fed. R. Evid. 403.

Plaintiffs have indicated that they do not intend to introduce any evidence of
the dispute concerning the RTA bus stop. Accordingly, the Court OVERRULES AS
lVlOOT the Beavercreek Defendants' lV|otion to Exclude References to Dispute
Between Dayton RTA and the City of Beavercreek About Bus Stops at Fairfield
Connnons|WaH,Doc.#ZOS.

5. References to Officer Williams' Tattoo (Doc. #204)

Finally, the Beavercreek Defendants ask the Court to exclude any testimony,
evidence and argument concerning Officer Sean Williams' tattoo of a warthog
holding a weapon. Doc. #204. They argue that such evidence is irrelevant to the
claims and that any probative value it may have is outweighed by the danger of
unfair prejudice and confusion of the issues. See Fed. R. Evid. 403.

Plaintiffs, however, maintain that evidence of Williams' tattoo is relevant,
particularly considering the incident in which he yelled at a group of teenagers who
were making snorting noises at him. Doc. #243.

The Court finds that the probative value of such evidence is slight at best
and that any probative value is substantially outweighed by the danger of unfair
prejudice. Accordingly, the Court SUSTA|NS the Beavercreek Defendants' motion
to exclude testimony, evidence and argument concerning Officer Williams' tattoo,

Doc. #204.

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C. Plaintiffs' Motion in Limine to Prevent References to John Crawford's
Alleged Marijuana Use (Doc. #201)

Plaintiffs ask the Court for an Order prohibiting Defendants from introducing
any evidence or making any comment or argument regarding John Crawford's
alleged use of marijuana. Doc. #201. Blood samples taken almost twelve hours
after his death showed the presence of a trace amount of marijuana volati|es. To
the extent that Defendants may seek to offer this as damaging character evidence
or to argue that Crawford was comparatively negligent because, at the time he
was shot, he was impaired or under the influence of marijuana, or unable to follow
verbal commands given by the officers, Plaintiffs maintain that the Court should
prohibit such evidence.

Plaintiffs hired a pharmacology expert, Dr. Francis Gengo, to explain the lab
results. A|though Dr. Gengo could not determine the exact concentrations of delta
9 tetrahydrocannabinol l”THC”) in Crawford's blood at the time of the shooting, he
was able to determine that the highest level possible would have been 7.5 ng/ml, a
concentration so low that it would be unlikely to produce any impairment of the
central nervous system (”CNS"). Doc. #201-1, PagelD##12951-52. lVloreover,
the test results ”suggest that his last use of marijuana would have been many
hours prior to the time he diedr long after any CNS effects would have dissipated.“
ld. at PagelD#12952. Plaintiffs note that Defendants have no expert witness

testimony to rebut Dr. Gengo's opinion.

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Plaintiffs maintain that, under the circumstances presented here, evidence of
Crawford's alleged marijuana use or possible impairment is irrelevant, highly
prejudicial and without scientific foundation. They further argue that they should
not be required to prove a negative_that the trace amounts of marijuana in
Crawford's system likely produced no impairment@when there is no expert
witness testimony to the contrary. |n addition, Plaintiffs argue that, even if
evidence of Crawford's alleged marijuana use had some probative value, it would
be substantially outweighed by the danger of unfair prejudice and should be
excluded under Fed. R. Evid. 403.

Neither the Beavercreek Defendants nor the Wal-l\/lart Defendants oppose
Plaintiffs’ motion. The Court agrees with Plaintiffs that, absent any expert witness
testimony to rebut Dr. Gengo’s report, the probative value of evidence of
Crawford's alleged marijuana use would be substantially outweighed by the danger
of unfair prejudice See Fed. R. Evid. 403. Accordingly, the Court SUSTA!NS
Plaintiffs’ unopposed motion to exclude all argument and evidence concerning
Crawford's alleged marijuana use, Doc. #201.

D. Wal-Nlart's Motions in Limine (Docs. #207-210, 238-2391

1. Motion in Limine #2 (Doc. #209)

Wal-l\./lart asks the Court to exclude any evidence or argument that the lVlK-
177 air rifle was not in its box when John Crawford picked it up. Doc. #209. The
manufacturer designed the box with a flip-up top so that it can be easily opened by

customers who wish to handle the air rifle in the store. lt is not clear from the

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surveillance video whether Crawford took the air rifle out of the box or whether it
was already out of the box when he picked it up. See Doc. #224, PagelD#15651.
Wal-l\flart argues that, given the paucity of evidence supporting a finding that the
air rifle was out of its box when Crawford picked it up, any such argument would
be purely speculative and must be excluded. Wal-l\/lart further argues that such
evidence is completely irrelevant because there is no evidence that, had the air rifle
been in the box, Crawford would not have taken it out of the box and carried it
through the store. /d.

Piaintiffs, however, argue that the video surveillance tape of Crawford in the
sporting goods department supports finding that the l\/lK-177 was unpackaged at
the time Crawford picked it up. He appears to grab it as he walks past, barely
breaking his stride. Doc. #222-1, PagelD##15148-49. Video surveillance tape
also supports a finding that the lVlK-177 may have been unpackaged for two days
prior to that time. Doc. #222-6, PagelD#15409. Plaintiffs maintain that Such
evidence is relevant to their claims against Wal-Nlart and must be considered by
the jury.

|n the Court's view, the video surveillance tapes, and the reports of law
enforcement officers and expert witnesses, move this issue beyond speculation.
The Court rejects Wa|-Nlart's argument that, because Plaintiffs cannot prove that
Crawford would not have picked up the rifle if it had been in its box, the evidence
is irrelevant. A reasonable jury could find that if the pellet rifle were in its box,

Crawford may have been more likely to heed the box's warning not to display or

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brandish it in public because it could be mistaken for a real firearm. ln addition,
evidence that the pellet rifle was out of its box is directly relevant to the breach
element of Plaintiffs’ claims. Breach of duty may be established by showing that
the pellet rifle was out of its box ”for a sufficient length of time to reasonably
justify the inference" that Wal-lVlart's failure to remedy the problem or warn
against it was ”attributab|e to a lack of ordinary care.” Sr'mmons v. Ouarry Goi'f
C/ub, LI_C, 2016-Ohio-525, il 26, 60 N.E.3d 454, 460 (5th Dist.).

Accordingly, the Court OVERRULES Wa|-lVlart’s lVlotion #2, seeking to
exclude evidence or argument that the lVlK-177 air rifle was not in its box when
John Crawford picked it up. Doc. #209.

2. Motion in Limine #3 (Doc. #208)

Wal-lVlart asks the Court to exclude all evidence concerning the discipline of
its employeesl Doc. #208. Wal-l\/lart speculates that Plaintiffs seek to present
evidence of routine disciplinary matters so that the jury can infer misconduct as it
relates to this incident. Wal-Nlart maintains, however, that there are no
disciplinary issues relevant to any of the issues in this case.

Plaintiffs intend to introduce such evidence only with respect to those Wal-
lVlart employees that were allegedly negligent in contributing to Crawford's death.
They seek to use such evidence where relevant to the credibility or impeachment
of a Wal-l\/lart employee.

ln the Court's view, this matter is better addressed in the context of the

actual tria|. Accordingly, the Court OVERRULES Wal-lVlart's lVlotion in Limine #3,

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Doc. #208, WlTHOUT PREJUD|CE to renewal at trial. Plaintiffs’ counsel is
directed not to mention this evidence in their opening statement and to seek to
approach the bench prior to attempting to introduce any argument or evidence
concerning disciplinary records of Wal-l\/lart employees

3. Motion in Limine #4 (Doc. #210)

Wal-l\/lart next asks the Court to exclude any evidence or argument
concerning incidents that occurred at Wal-l\/lart stores after Crawford's death.
Doc. #210. For example, in November of 2014, a child at a store in Pennsylvania
removed a BB gun from its box and left it on the floor. Another child found it and
gave it to his father, who may have initially mistaken it for a real firearm. Wa|-
lVlart maintains that evidence of incidents occurring after Crawford's death is
irrelevant and must be excluded.

Plaintiffs do not intend to introduce such evidence unless Wal-Nlart opens
the door, or it becomes relevant for impeachment purposes Accordingly, the
Court OVERRULES AS MOOT Wal-Nlart's Niotion in Limine #4, Doc. #210.

4. Motion in Limine #5 (Doc. #207)

Wal-l\/lart also asks the Court for an Order excluding any argument or
consideration of punitive damages against Wal-lVlart. Doc. #207. Wal-l\/lart argues
that, under the circumstances presented here, it cannot be said that Wal-lVlart
acted with actual malice, the prerequisite for an award of punitive damages. See
Prestori v. Murry, 32 Ohio St. 3d 334, 336, 512 N.E.2d 1174, 1176 (1987). ln

order to show actual malice, Plaintiffs must prove that Wal-Nlart acted with

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”hatred, ill-will or spirit of revenge,” or that it had a ”conscious disregard for the
rights and safety of other persons that has a great probability of causing
substantial harm." /d.

Plaintiffs argue that, because Wal-Nlart failed to move for summary
judgment on the claim for punitive damages, it must be deemed to have waived
this argument. They further argue that, based on the evidence presented, a
reasonable jury could find that Wal-l\/lart acted in conscious disregard for the rights
and safety of others

The Court rejects both of these arguments Although Wal-Nlart could have
moved for summary judgment on the request for punitive damages its failure to do
so does not constitute a waiver of that argument. l\/loreover, the Court agrees
with Wal-lVlart that Plaintiffs have not presented sufficient evidence from which a
reasonable jury could find that Wal-l\/lart acted with actual malice. There is
absolutely no evidence that Wal-Nlart acted with ”hatred, ill-will or a spirit” of
revenge. Nor is there sufficient evidence to support a finding that Wal-l\/lart acted
with a ”conscious disregard for the rights and safety of other persons that has a
great probability of causing substantial harm."

ln sustaining Wal-l\/lart’s motion to dismiss the Wrongful Death claimr the
Court found that Plaintiffs could not satisfy the ”gross negligence" standard. lt
noted that Wal-l\/lart had displayed the pellet rifle as the manufacturer intended and
violated no laws or industry standards The pellet rifle box contained a

conspicuous warning, and Wal-l\/lart had policies in place requiring employees to

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conduct safety sweeps and return unpackaged merchandise to its proper place.
lVloreover, when Wal-l\/lart learned that Crawford was carrying an unboxed lVlK-177
through the store, its managers immediately began looking for him. Doc. #273,
PagelD##20014-18.

For the same reasons that no reasonable jury could find that Wa|-|Vlart was
”grossly negligent,” no reasonable jury could find that Wa|-l\/lart acted with actual
malice. See, e.g., Merro. Prop. & Cas. lns. Co. v. Pesz` Doctor Sj/s., /nc., No.
3:14-CV-143, 2015 WL 4945767, at *6 (S.D. Ohio Aug. 20, 2015) (noting that
gross negligence requires a showing of a conscious disregard of a known risk).

The Court therefore SUSTA|NS Wal-l\/lart's lVlotion in Limine #5, Doc. #207,
and excludes any argument or consideration of punitive damages against Wal-lVlart.

5. Motion in Limine #6 (Doc. #238)

Wal-lVlart next asks the Court for an Order preventing any evidence or
argument concerning Wal-l\/lart's policies regarding real firearms Doc. #238. lt
notes that laws concerning the merchandising and sale of real firearms differ
significantly from those governing the merchandising and sale of pellet rifles. Wal-
lVlart maintains that policies concerning real firearms are therefore irrelevant and
that any probative value they might have is substantially outweighed by the danger
of unfair prejudice, confusion of the issues and misleading the jury. See Fed. R.
Evid. 403.

ln response, Plaintiffs argue that Wal-l\/lart was aware that the perceived

dangers associated with an unloaded lVll<-177 are the same as those associated

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with an unloaded AFl-15. Wal-Nlart had detailed policies concerning the secured
display and sale of real firearms yet it failed to implement any policies governing
how the pellet rifles should be displayed. This differing treatment goes to the very
heart of Plaintiffs’ claims of negligence and premises liability.

The Court agrees with Plaintiffs that evidence of Wal-lVlart's policies
concerning the display and sale of real firearms is relevant to Plaintiffs’ claims.
The Court further finds that, because the probative value of such evidence is not
substantially outweighed by the danger of unfair prejudice, confusion of the issues
and misleading the jury, such evidence is not excludable under Rule 403.
Accordingly, the Court OVERRULES Wal-lVlart's Nlotion in Limine #6, Doc. #238.

6. Motion in Limine #7 (Doc. #239)

Finally, Wal-l\/lart asks the Court to exclude Exhibit 51 to the deposition of
Wal-l\/lart employee Joseph Bonds. Doc. #250-3, PagelD##17939-41. This is an
email message sent to Wal-l\/lart by Jeff Wilson, a Wal-lVlart shopper in l\/linnesota.
Wilson expressed his concern about two children who picked up an air rifle and
pointed it at other customers l-le suggested that Wal-lViart lock up its pellet rifles
in the same manner it locks up real firearms because customers could load the
pellet rifles and shoot them at customers causing serious injury or death. Wi|son’s
email message was forwarded to several Wal-l\/lart employees and managers
including Joseph Biddulph, Wal-l\/lart's Vice President who had responsibility for

the sporting goods departments Biddulph admits that he received the email

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message, but does not recall how, or if, the issue was resolved. Doc. #263,
Page|D##19141-44.

Wa|-l\/lart maintains that this email message is irrelevant because the danger
that Wilson addresses in his email message-the possible use of the pellet rifle to
injure other customerseis different from the risk at issue in this case, the danger
that may arise when other customers believe the pellet rifle to be a real firearm.
Wa|-l\/lart also argues that the probative value of this evidence is substantially
outweighed by the danger of unfair prejudice, confusion of the issues or misleading
the jury. ln addition, Wal-l\/lart contends that Wilson's email message is
inadmissible hearsay.

Plaintiffs argue that this email message is relevant and admissible. lt shows
that Wal-l\/lart had actual notice of hazards associated with the unsecured display
of pellet rifles and yet failed to take action to protect its business invitees
Plaintiffs also argue that, because the email message is not offered for the truth of
the matter asserted, but rather to show that Wal-Mart was on notice of customer
concerns related to its display of pellet rifles, it is not inadmissible hearsay.

The Court agrees that, because it is not offered for the truth of the matter
asserted but to show notice, the email message does not constitute inadmissible
hearsay. The Court further finds that, even though the email message addresses a
different risk than the one at issue in this case, it is nevertheless probative on the
question of whether Wal-l\/lart breached a duty of care to protect its business

invitees from foreseeable dangers associated with the unsecured display of pellet

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rifles. ln the Court's view, the probative value of this evidence is not substantially

outweighed by the danger of unfair prejudice or confusion of the issues.

Accordingly, the Court OVERRULES Wal-l\/lart's |Viotion in Limine #7, Doc. #239.

Conclusion

For the reasons set forth above, the Court:

SUSTA|NS the Beavercreek Defendants' lVlotion in Limine Regarding
Defendant Williams' Use of Force History and Response to
Resistance/Use of Force Data (Doc. #190);

SUSTA|NS the Beavercreek Defendants' lVlotion in Limine Regarding
Defendant Williams' Prior Use of Deadly Force (Doc. #192);
OVERRULES W|THOUT PREJUD|CE the Beavercreek Defendants'
l\/lotion in Limine Flegarding References to the Terms ”Toy Gun," ”Air
Gun," ”Air Rifle,” ”Pellet Gun," ”Pe||et Rifle," and "BB Gun” (Doc.
#191b

OVERRULES AS MOOT the Beavercreek Defendants' lVlotion in Limine
Regarding References to Other Publicized incidents (Doc. #193);
OVERRULES AS lVlOOT the Beavercreek Defendants' lVlotion in Limine
Regarding Dispute Between Dayton FiTA and the City of Beavercreek
About Bus Stops at Fairfield Commons lVlall (Doc. #203);

SUSTAINS the Beavercreek Defendants' lVlotion in Limine Regarding
Defendant Williams' Tattoo (Doc. #204);

SUSTA|NS Plaintiffs’ |Vlotion in Limine to Prevent References to John
Crawford's Alleged Nlarijuana Use (Doc. #201);

OVERRULES Wa|-i\/lart’s Nlotion in Limine #2 (Doc. #209);
OVERRULES W|THOUT PREJUD|CE Wal-l\/lart's Nlotion in Limine #3
(Doc.#208h

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o OVERRULES AS lVlOOT Wal-lVlart's lVlotion in Limine #4 (Doc. #210);
¢ SUSTA|NS Wal-Nlart's l\/lotion in Limine #5 (Doc. #207);

¢ OVERRULES Wal-lViart's Nlotion in Limine #6 (Doc. #238); and

¢ OVERRULES Wal-lVlart's Motion in Limine #7 (Doc. #239).

Date: January 31 , 2019 £j&-"' 'NS\Q

WALTER H. RlCE
UN|TED STATES D|STR|CT JUDGE

 

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